Case 8:21-cv-02511-PJM Document1 Filed 09/29/21 Page 1 of 3

CUSTOMER’S MOTION TO CHALLENGE GOVERNMENT’S
ACCESS TO FINANCIAL RECORDS

IN THE UNITED STATES DISTRICT COURT ib2) SEP 20 BD |

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(Name of District) (State in W Which Court is located)

MOTION FOR ORDER PURSUANT TO CUSTOMER CHALLENGE PROVISIONS
OF THE RIGHT TO FINANCIAL PRIVACY ACT OF 1978

Sowa. Y, Sdott DOCKET NO.

(YourName) (Will be filled in by Court Clerk)

 

 

Movant
Vv.
UNITED STATES DEPARTMENT OF THE INTERIOR

Respondent.

t *
CON Y. Sd ott hereby moves this Court, pursuant to
(Your"Name)
Section 1110 of the Right to Financial Privacy Act of 1978, 12 U.S.C. Sec. 3410, for an
order preventing the Government from obtaining access to my financial records. The
Office of Inspector General for the U.S. Department of the Interior is seeking access to
these financial records.

My financial records are held by Ka hba Ge, TA b.

(Naine of Financial Institution)

 

In support of this motion, the Court is respectfully referred to my sworn statement filed
with this motion.

 

 

Respectfully submitted,

Al HSA Sonja. Stor
(Youf Sign ure) sl (Your Name)
[2a Catzell Ct (24) 5Y2- 235
(Your Address) (Your Telephone Number)
Accoleec, M) 20007

 

(Your City, State, Zip Code)
Case 8:21-cv-02511-PJM Document1 Filed 09/29/21 Page 2 of 3

CUSTOMER’S SWORN STATEMENT
FOR FILING A CHALLENGE
IN THE UNITED STATES DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT

FOR THE (5. Distictlwt pistrict or Man lat

 

 

 

 

(Name of District) (State in‘Which Court is located)
a . 4 > |
Sonia. Sot DOCKET NO.
YI (Customer’s Name) (Will be filled in by Court Clerk)
MOVANT
Vv.

UNITED STATES DEPARTMENT OF THE INTERIOR

 

Respondent
Sonia, Seott , (am presently/was previously)
(Gdstomer's Name) (Indicate One)

a customer of Ka bh ba Ge 1nd.

(Name of Financial Institution)
and I am the customer whose records are being requested by the Government.

 

The financial records sought by the Office of Inspector General for the U.S. Department
of the Interior are not relevant to the legitimate law enforcement inquiry stated in the
hie wa tice that was sent to me because

This tabrrnetion iS not cekves tole ase and prvi lye.
FamalD se Gy lead recomn und at bn or

should not be disclosed because there has not been substantial compliance with the Right
to Financial Privacy Act of 1978 in that

 

, or

 

should not be disclosed on the following other legal basis:

 

 

I declare under penalty of perjury that the foregoing is true and correct.

09/24 [al Rib NARS

(Date) ifn Signature)
Case 8:21-cv-02511-PJM Document1 Filed 09/29/21 Page 3 of 3

CERTIFICATE OF SERVICE

i vee males gt delivered a copy of this motion and the attached sworn statement to:
Pacer uns}

Se ent. of Hie Inferior

(Name of Official listed at item 3 of Customer Notice)

on OULD beh ( ,208/ .

(Date)

yall Volp)

Cou lenin
